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           11    Facsimile: 202.530.9635
           12    Attorneys for Defendants UNITED
                   BEHAVIORAL HEALTH and
           13      UNITEDHEALTHCARE INSURANCE
                   COMPANY
           14

           15

           16                                    UNITED STATES DISTRICT COURT

           17                                 NORTHERN DISTRICT OF CALIFORNIA

           18                                            OAKLAND DIVISION

           19    LD, DB, BW, RH and, CJ, on behalf of             CASE NO. 4:20-cv-02254-YGR-JCS
                 themselves and all others similarly situated,
           20                                                     DEFENDANTS’ MOTION FOR
                                        Plaintiffs,               ADMINISTRATIVE RELIEF FOR AN
           21                                                     EXTENSION OF FACT DISCOVERY
                        v.
           22
                                                                  Hearing: None set
                 UNITED BEHAVIORAL HEALTH, a
           23    California Corporation,                          Time: None set
                 UNITEDHEALTHCARE INSURANCE
           24    COMPANY, a Connecticut Corporation, and          Location: Oakland Courthouse, Courtroom 1,
                 MULTIPLAN, INC., a New York corporation,
           25                                                               4th Floor, 1301 Clay Street,
                                                                            Oakland, CA 94612
                                        Defendants.
           26
                                                                  Complaint filed: April 2, 2020
           27                                                     Third Amended Complaint filed: Sept. 10, 2021

           28

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            1           Pursuant to Civil Local Rules 6-1, 6-3, and 7-11, Defendants UnitedHealthcare Insurance
            2    Company, United Behavioral Health, and MultiPlan, Inc. respectfully request a 28-day continuance of
            3    the fact discovery deadline from June 13, 2025 to July 11, 2025. See Scheduling Order (Dkt. 472).
            4    This extension is necessary to complete discovery into the balance-billing issues identified by the Court
            5    as the focus of the forthcoming class certification briefing. Just a few days prior to and on the evening
            6    of the close of discovery, Plaintiffs produced documents including hundreds of pages that Plaintiffs’
            7    counsel obtained “informally” from third-party providers without any subpoenas or notice to
            8    Defendants. To understand these providers’ productions, Defendants need discovery on a few discrete
            9    categories of information about the providers’ searches and productions and what the documents show
           10    and don’t show about balance billing, as further outlined below.
           11           The requested extension will not impact the briefing schedule or the Court’s schedule, because
           12    all discovery would still be completed prior to any briefing. Plaintiffs’ renewed motion for class
           13    certification is due July 14, 2025, and Defendants’ opposition is due August 4, 2025.1
           14           There is good cause for the requested extension because it is to permit discovery relevant to
           15    balance billing—the specific issue that this Court directed the parties to focus on in the forthcoming
           16    class certification briefing.   Without the requested information, Defendants will be stuck with
           17    Plaintiffs’ belated, unexplained productions, which raise more questions than answers.
           18           Defendants acted diligently and transparently throughout discovery, and repeatedly asked
           19    Plaintiffs to provide notice of any third-party discovery, with the stated goal of avoiding this precise
           20    situation. But without telling Defendants, Plaintiffs secretly sought “informal” discovery from several
           21    providers and dumped the resulting documents on Defendants just prior to the close of discovery—in
           22    a transparent attempt to skew the record on balance billing. Immediately after receiving Plaintiffs’ first
           23    provider production (on June 9) Defendants contacted Plaintiffs, and when Plaintiffs refused to
           24    cooperate (on June 11), United served subpoenas (earlier today, June 13) on those providers seeking
           25    information about their billing practices and communications with Plaintiffs’ counsel. Defendants are
           26    still reviewing the June 13 production and likely need to take additional discovery in light of the
           27

           28    1
                   The deadlines outlined in the Scheduling Order (Dkt. 472) have not been amended or altered since
                 they were entered by the Court.
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            1    additional provider declarations and documents produced by Plaintiffs tonight.          The requested
            2    extension will ensure there is time for the providers to respond to United’s subpoenas over the next few
            3    weeks before the forthcoming class certification briefing.
            4           Before filing this motion, Defendants asked Plaintiffs to stipulate to the requested extension,
            5    but they refused. See Declaration of Matthew G. Aiken (“Aiken Decl.”), ¶ 20. Defendants therefore
            6    respectfully request that the Court extend the fact discovery deadline by 28 days to July 11, 2025.
            7                                                ARGUMENT
            8           Under Federal Rule of Civil Procedure 16(b)(4), a schedule may be modified if there is “good
            9    cause,” which exists if the current deadlines “cannot reasonably be met despite the diligence of the
           10    party seeking the extension.” Johnson v. Mammoth Recs., Inc., 975 F.2d 604, 610 (9th Cir. 1992). As
           11    part of the diligence inquiry, the Court examines whether the relief sought is “based on the development
           12    of matters that could not have been reasonably anticipated at the time the schedule was established.”
           13    FeedMe Trading LLC v. My Fish Stop LLC, 2024 WL 5257016, at *3 (C.D. Cal. Oct. 10, 2024).
           14    “[C]ourts often find good cause when the motion to amend the scheduling order is based upon new and
           15    pertinent information,” such as recent productions—as is the case here. See Lyon v. U.S. Immigr. &
           16    Customs Enf’t, 308 F.R.D. 203, 216 (N.D. Cal. 2015); Akey v. Placer Cnty., 2017 WL 1831944, at *4
           17    (E.D. Cal. May 8, 2017). As described below, good cause exists because Defendants acted diligently,
           18    denial of the extension would prejudice Defendants, and there is no prejudice to Plaintiffs.
           19           Defendants’ Diligence. The extension is necessary not because of any lack of diligence by
           20    Defendants, but because Plaintiffs consciously excluded Defendants from Plaintiffs’ secretive,
           21    “informal” communications with providers and then dumped these providers’ documents on
           22    Defendants just prior to the close of discovery.
           23           Defendants diligently conducted balance-billing discovery in three ways. First, United served
           24    subpoenas on 30 providers (who were selected via a random sample of claims) and obtained documents
           25    and declarations in response to these subpoenas. See Aiken Decl. ¶ 4. In doing so, United transparently
           26    provided advance notice of the random sample and subpoenas to Plaintiffs, included Plaintiffs’ counsel
           27    on emails and calls with the providers (see, e.g., Ex. D), and promptly produced any documents to
           28    Plaintiffs upon receipt. Aiken Decl. ¶¶ 10-13.

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            1           Second, Defendants reactivated their discovery requests on balance billing to Plaintiffs and
            2    specifically requested any communications between Plaintiffs and any providers about balance billing.
            3    Ex. A at 4. United also followed up repeatedly, stating, “If Plaintiffs intend to refuse to produce any
            4    responsive materials, please immediately let us know so that we can seek relief from the Court if
            5    necessary.” Ex. B at 4; Aiken Decl. ¶¶ 6, 7. Plaintiffs did not object or state that they would refuse to
            6    produce these documents, so Defendants reasonably expected that they would. However, just two days
            7    before the close of discovery, Plaintiffs suddenly announced on a June 11 meet-and-confer that they
            8    had a different interpretation of Defendants’ requests and therefore would not produce any
            9    communications by Plaintiffs’ counsel with providers about balance billing (although they later
           10    produced a handful of emails with one provider on the night of June 13). Aiken Decl. ¶ 20.
           11           Third, United asked Plaintiffs to include Defendants on their communications with providers,
           12    as Defendants did with their communications and subpoenas, so that both sides could have a complete
           13    picture of any balance billing evidence from providers. Plaintiffs initially agreed to do so (although
           14    they opposed lodging the parties’ agreement in a court-ordered stipulation). See id. ¶ 9. But in later
           15    emails and calls, Plaintiffs began to walk back from that agreement. And eventually, when Plaintiffs
           16    produced the several hundred pages from providers on June 9, it became clear that Plaintiffs had
           17    conducted discovery from providers without any notice to Defendants.
           18           On a June 11 call, Plaintiffs confirmed that they had conducted secret informal discovery and
           19    took the position that there was nothing Defendants could do about it. Plaintiffs refused to produce
           20    their communications with the providers (which would at least clarify the scope and nature of what the
           21    providers searched for and produced), and refused to agree to any extension of the schedule so that
           22    Defendants could seek information from the providers or from Plaintiffs. See id. ¶ 20. Shortly after
           23    that meet and confer, United served subpoenas on the three providers (on June 13) and filed this
           24    extension motion to allow this supplemental discovery to occur (also June 13).
           25           There was no way for Defendants to seek discovery from these providers earlier in the discovery
           26    period because Plaintiffs never disclosed that they were communicating with them. Rather, Plaintiffs
           27    generally suggested earlier in the discovery period that they might seek discovery from a long list of
           28    providers, but said they would include Defendants if they did so. When it became clear much later that

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            1    Plaintiffs had changed their minds, Defendants realized that one of the three providers from whom
            2    Plaintiffs produced documents on June 9 was on the list Plaintiffs sent earlier in the case, the second
            3    was not, and the third had refused to respond to a subpoena from Defendants (despite multiple follow-
            4    up emails). And there was obviously no way for Defendants to seek discovery from the additional
            5    providers whose declarations and documents Plaintiffs produced on the evening of June 13.
            6           Defendants acted diligently at all times, particularly in the face of Plaintiffs’ obfuscation. See
            7    Akey, 2017 WL 1831944, at *4; United States v. Tucker, 2022 WL 5264371, at *1 (D. Nev. Aug. 31,
            8    2022) (finding good cause because “recent depositions revealed the need for additional discovery,” and
            9    the “late realization” was attributable to the other party’s conduct); FeedMe, 2024 WL 5257016, at *3
           10    (granting motion to modify scheduling order because plaintiffs never clearly communicated they would
           11    refuse to produce documents); M2 Software, Inc. v. M2 Commc’ns, L.L.C., 217 F.R.D. 499, 500 (C.D.
           12    Cal. 2003) (allowing modification of discovery cut-off where “counsel reasonably relied to its
           13    detriment upon the representations of [counsel]”).
           14           Prejudice to Defendants Absent the Extension. Defendants would be prejudiced without the
           15    extension because it would prevent Defendants from understanding the belated productions containing
           16    documents on which Plaintiffs will rely to seek class certification. Since Defendants received the first
           17    production just a few days ago and the latest production on the night this motion was filed, there has
           18    barely been enough time to review the produced documents. The production consists of more than 600
           19    pages from providers (Aiken Decl. ¶¶ 18, 21) and covers a subset of putative class members whom
           20    these providers treated. Among the questions raised by the production are:
           21                  What did Plaintiffs ask these providers to produce, and did they produce
           22                   what was requested? If not, what other relevant documents are there?
           23                  Why did the providers only produce records related to a limited subset of
           24                   putative class members whom they treated?
           25                  What information is available about the other putative class members for
           26                   whom the providers produced no documents?
           27                  Which members (if any) were balance billed?
           28                  Which members (if any) received and paid balance bills?

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            1           Without the extension requested here, Defendants would be unable to ask these questions
            2    because Plaintiffs did not include Defendants in their communications with these providers, and did
            3    not produce the providers’ documents and declarations until just before the deadline. Just before this
            4    motion was filed, Plaintiffs produced a handful of emails with one of the providers but refused to
            5    produce their communications with the others.2 Plaintiffs have also claimed that many of their
            6    communications with providers were over the telephone, which highlights the need to depose the
            7    providers to fully understand the questions above. The prejudice is particularly acute here because
            8    balance billing is the focus of discovery and the upcoming briefing—and the extent to which these
            9    cherry-picked documents from the providers are reliable and representative of the putative class will
           10    likely be addressed in that briefing. See Dkt. 472 at 1; see also Dkt. 469 at 20. Defendants are entitled
           11    to conduct discovery in these circumstances. See Perez v. Safelite Grp. Inc, 553 F. App’x 667, 668-69
           12    (9th Cir. 2014) (reversing denial of class certification based on denial of pre-certification discovery).
           13           Lack of Prejudice to Plaintiffs. There is no prejudice whatsoever to Plaintiffs from the
           14    requested extension. See Johnson, 975 F.2d at 609. Plaintiffs first filed this action in April 2020, filed
           15    their first motion for class certification in August 2022, and have themselves sought similar extensions.
           16    See, e.g., Dkt. 1, 168, 203. Plaintiffs claim that they do not need any more discovery, and they will
           17    receive everything Defendants receive through the recently served subpoenas (and they may already
           18    have most of it). The discrete follow-up areas are limited and do not impose any substantial cost and
           19    burden on Plaintiffs or the providers. A 28-day extension cannot prejudice Plaintiffs given these facts,
           20    and Plaintiffs cannot oppose an extension by claiming prejudice from a situation of their own making.
           21                                                CONCLUSION
           22           For all of the foregoing reasons, Defendants respectfully request that the Court extend the
           23    discovery deadline by 28 days, as outlined in the chart in the proposed order filed concurrently.
           24

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           26    2
                  Plaintiffs refuse to produce these other communications because their counsel represents the providers
                 “in other matters.” Aiken Decl. ¶ 21. But Plaintiffs’ counsel do not represent those providers in this
           27    matter, so their communications about this case cannot possibly be privileged. During the June 11
                 meet-and-confer, Plaintiff’s counsel declined to assert privilege over their communications with the
           28    providers included in the June 9 production. The other providers didn’t come up on the meet and confer
                 because Plaintiffs withheld their materials until the night of June 13.
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            1    DATED: June 13, 2025                Respectfully submitted,
            2                                        GIBSON, DUNN & CRUTCHER LLP
            3
                                                     By:       /s/ Geoffrey Sigler
            4                                                  Geoffrey Sigler

            5                                        Attorney for Defendants UnitedHealthcare Insurance
                                                         Company and United Behavioral Health
            6

            7                                        – and –

            8                                        PHELPS DUNBAR, LLP

            9                                        By:       /s/ Errol J. King
                                                               Errol J. King, Jr.
           10

           11                                        Attorney for Defendant MultiPlan, Inc.

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            1                      ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1
            2           Pursuant to Civil Local Rule 5-1(i)(3) of the Northern District of California, I attest that

            3    concurrence in the filing of the document has been obtained from each of the other signatories to this

            4    document.

            5    DATED: June 13, 2025                         Respectfully submitted,
            6
                                                             GIBSON, DUNN & CRUTCHER LLP
            7

            8                                                By:       /s/ Geoffrey Sigler
                                                                       Geoffrey Sigler
            9

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